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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



 IN RE: Bair Hugger Forced Air Warming          MDL No. 15-2666 (JNE/FLN)
 Products Liability Litigation


 PLAINTIFF                                      MASTER SHORT FORM
                                                COMPLAINT AND JURY TRIAL
 KEVIN M. BURKE                                 DEMAND

 VS.

 3M COMPANY AND ARIZANT
 HEALTHCARE, INC.




       1.     Plaintiff, Kevin M. Burke, states and brings this civil action in MDL No. 15-

2666, entitled In Re: Bair Hugger Forced Air Warming Products Liability Litigation.

Plaintiff is filing this Short Form Complaint as permitted by Pretrial Order #8 of this Court.


                      PARTIES, JURISDICTION AND VENUE

       2.     Plaintiff, Kevin M. Burke, is a resident and citizen of the State of Florida and

claims damages as set forth below.

       3.     Jurisdiction is proper based upon diversity of Citizenship.

       4.     Proper Venue: The District Court in which remand trial is proper and where

this Complaint would have been filed absent the direc t filing order by this Court

is the District of Minnesota.

       5.     Plaintiff brings this action on behalf of himself.
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                               FACTUAL ALLEGATIONS

       6.      On or about May 18, 2004, Plaintiff underwent surgery during which the Bair

Hugger Forced Air Warming system (hereinafter “Bair Hugger”) was used during the

course and scope of his right total knee arthroplasty (“TKA”) at Lee Memorial Hospital, in

Fort Myers, Florida, by Dr. John B. Fenning.

       7.      Contaminants introduced into Plaintiff’s open surgical wound as a direct and

proximate result of use of the Bair Hugger during the subject surgery resulted in Plaintiff

developing a periprosthetic joint infection (“PJI”), also known as a deep joint infection

(“DJI”). The Pathogen was identified as Staphylococcus aureus.

       8.      As a result of Plaintiff’s infection caused by the Bair Hugger, Plaintiff

underwent an irrigation and debridement procedure on or about July 6, 2004, repeat

irrigation and debridement procedure on or about September 17, 2004, removal of implant

and installation of an antibiotic spacer on or about August 24, 2005, and removal of

antibiotic spacer and installation of a new implant on or about November 1, 2005 at Lee

Memorial Hospital, in Fort Myers, Florida, by Dr. John B. Fenning.

                           ALLEGATIONS AS TO INJURIES

       9.      (a) Plaintiff claims damages as a result of:


       __X__          INJURY TO HERSELF/HIMSELF


       _____          INJURY TO THE PERSON REPRESENTED


       _____          WRONGFUL DEATH


       _____          SURVIVORSHIP ACTION
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      __X__          ECONOMIC LOSS

              (b) Defendants, by their actions or inactions, proximately caused the

      injuries to Plaintiff.

  DEFENDANT-SPECIFIC ALLEGATIONS AND THEORIES OF RECOVERY

      10.     The following claims and allegations are asserted by Plaintiff and are herein

adopted by reference:

      __X___                   FIRST CAUSE OF ACTION - NEGLIGENCE;

      __X___                   SECOND CAUSE OF ACTION - STRICT LIABILITY;

                     __X___           FAILURE TO WARN

                     __X___           DEFECTIVE DESIGN AND MANUFACTURE

      __X___                   THIRD CAUSE OF ACTION – BREACH OF EXPRESS

                               WARRANTY;

      __X___                   FOURTH CAUSE OF ACTION- BREACH OF IMPLIED

                               WARRANTY OF MERCHANTBILITY LAW OF THE

                               STATE OF FLORIDA, FLA. STAT. § 672.314;

      __X___                   FIFTH CAUSE OF ACTION- VIOLATION OF THE

                               MINNESOTA PREVENTION OF CONSUMER FRAUD

                               ACT;

      __X___                   SIXTH CAUSE OF ACTION – VIOLATION OF THE

                               MINNESOTA DECEPTIVE TRADE PRACTICES ACT;

      __X___                   SEVENTH CAUSE OF ACTION- VIOLATION OF THE

                               MINNESOTA UNLAWFUL TRADE PRACTICES ACT;

      __X___                   EIGHTH CAUSE OF ACTION- VIOLATION OF THE
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                           MINNESOTA FALSE ADVERTISING ACT;

      __X___               NINTH CAUSE OF ACTION- CONSUMER FRAUD

                           AND/OR UNFAIR AND DECEPTIVE TRADE

                           PRACTICES UNDER LAW OF THE STATE OF

                           FLORIDA, FLA. STAT. § 501.001, ET SEQ.;

      __X___               TENTH CAUSE OF ACTION – NEGLIGENT

                           MISREPRESENTATION;

      __X___               ELEVENTH CAUSE OF ACTION- FRAUDULENT

                           MISREPRESENTATION;

      __X___               TWELFTH CAUSE OF ACTION – FRAUDULENT

                           CONCEALMENT;

      __ ___               THIRTEENTH CAUSE OF ACTION – LOSS OF

                           CONSORTIUM;

      __X___               FOURTEENTH CAUSE OF ACTION – UNJUST

                           ENRICHMENT; and

      __X___               FIFTEENTH CAUSE OF ACTION – PUNITIVE

                           DAMAGES.

                               PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

      1. For compensatory damages;

      2. Pre-judgment and post-judgment interest;

      3. Statutory damages and relief of the state whose laws will govern this action;

      4. Costs and expenses of this litigation;
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       5. Reasonable attorneys’ fees and costs as provided by law;

       6. Equitable relief in the nature of disgorgement;

       7. Restitution of remedy Defendants’ unjust enrichment;

       8. Punitive damages; and

       9. All other relief as the Court deems necessary, just and proper.

                                     JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands a trial

by jury as to all claims in Complaint so triable.


  Dated: July 8, 2019
                                                    Respectfully submitted,

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